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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

RYAN SHEEHAN,
Plaintiff,
Vv.
CONSENSYS, INC.,

Defendant.

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kK kK Kk eK KK KK KK KK KOK

Case No. 19-CV-4154 (DLI)

Brooklyn, New York
August 16, 2021

TRANSCRIPT OF CIVIL CAUSE FOR STATUS CONFERENCE
BEFORE THE HONORABLE TARYN A. MERKL
UNITED STATES MAGISTRATE JUDGE

APPEARANCES:

For the Plaintiff: JORDAN A. EI1-HAG, ESQ.
El-Hag and Associates PC
777 Westchester Avenue, Suite 101
West Harrison, NY 10604

For the Defendant: SCOTT M. COOPER, ESQ.

Davis Wright Tremaine, LLP
1251 Avenue of the Americas, 21st Fl
New York, NY 10020

Proceedings recorded by electronic sound recording, transcript

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4 Research Drive, Suite 402

Shelton, Connecticut 06484 (203)929-9992

 

 
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(Proceedings commenced at 4:03 p.m.)
THE CLERK: This is civil cause for status
conference, Docket 19-CV-4154, Sheehan vs. Consensys, Inc.
Before the parties -- before asking the parties to state their

appearance, I would like to note the following.

Persons granted remote access to proceedings are
reminded of the general prohibition against photographing,
recording and re-broadcasting of court proceedings. Violation
of those prohibitions may result in sanctions, including
removal of court-issued media credentials, restricted entry to
future hearings, denial of entry to future hearings or any
other sanctions deemed necessary by the Court.

Will the parties please state their appearances for
the record, starting with the plaintiff?

MR. EL-HAG: Jordan El-Hag on behalf of the
plaintiff. Good afternoon, Your Honor.

THE COURT: Good afternoon.

MR. COOPER: Good afternoon, Your Honor This is
Scott Cooper of Davis Wright Tremaine on behalf of Defendant
Consensys.

THE COURT: Good afternoon.

So I think we left off in this case with, you know,
the hope that the parties could discuss, you know, sort of
where this is realistically going. So I would like to hear

from you first, Mr. El-Hag, about how the plaintiff is doing

 

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physically and if you guys have made any progress.

MR. EL-HAG: The plaintiff is status quo. So it's
not really good, and there's no real progress as made.

You know, I did make a initial settlement demand to
Mr. Cooper. He has responded by indicating the only
settlement his client is interested in is a mutual walkaway,
which, you know, I can't get the client to accept or advise
them to accept at this point.

And I think what might be helpful for the Court, if
I would be permitted to do so, I could put a little bit more
information about my client's medical status in a letter to
the Court, but I would like to do that under seal.

I haven't discussed that with Mr. Cooper, but I
don't want to disclose some information to the defendants. I
don't think that would benefit him. And I think that might
give the Court a better sense of how to manage the situation.

THE COURT: I'm not fully understanding your
suggestion. Are you suggesting it be ex parte and under seal
or just under seal for attorneys' eyes only?

MR. EL-HAG: Yeah. Ex parte and under seal.

THE COURT: Mr. Cooper, what are your thoughts on
that?

MR. COOPER: Your Honor, I can think of no
justification for such a submission at this point or at least

that requested treatment of such a submission at this point.

 

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I mean, plainly, the reason why we're on the phone today, Your
Honor, is to discuss the future, if there is a future, of this
case.

And defendant is, obviously, 50 percent of the
parties involved in the case, and we've been kind of held
hostage the last 18 plus months that Mr. Sheehan's been away,
first at rehab. We had to shut down discovery. And then not
long after he returned from the rehab-related pause of
discovery, we had Mr. Sheehan's latest incident.

So I just -- I can't fathom what the justification
would be for why defendants should not have access to whatever
it is that Mr. El-Hag thinks would benefit the Court. I mean,
at this point, there's a confidentiality order in place in
this case.

And, frankly, if there's going to be any sort of
conversations -- or informed or educated conversation between
and among the parties, I don't know how that could benefit
from that sort of secrecy.

THE COURT: Mr. El-Hag, would you like to add
anything as to why you think this is justified or any
authority that supports your suggestion?

MR. EL-HAG: I don't have legal authority available
at this time. I think that I would be fine if -- I would
leave it to, you know, the Court to determine after I

submitted it whether, you know, it would be appropriate for

 

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disclosure, you know, in whatever limited capacity or full
capacity to Mr. Sheehan.

But I don't think it's beneficial to my client
and -- at this time. And considering that his medical
status -- you know, I hope will start improving, you know,
again, his current situation doesn't reflect the future. Sol
don't know if putting information that's potentially, you
know, harmful to my client out there prematurely to the
defendants is good.

So if I'd have to, you know, come up with some legal
arguments and research it, I could do that. I'm just trying
to be efficient here and save everybody some time without
having to unnecessarily brief something.

MR. COOPER: Your Honor, I -- if I may? You know, a
question that I would have at this point that I don't think
has been addressed, you know, without -- you know, I
understand and appreciate that perhaps there are some details
or specifics that Mr. El-Hag is hesitant to share.

But, you know, perhaps Mr. El-Hag could explain the
intended benefit or outcome of his filing this letter one way
or the other. And then, you know, at least we're dealing with
fewer hypotheticals.

MR. EL-HAG: Well, I can respect that. So I feel
like the position that we're in now is I would like to request

that more time be granted to see how things develop with

 

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Mr. Sheehan. And I know that the defendants want this case to
be over with and, you know, don't really -- aren't really very
concerned with, you know, his development. It would benefit
them if the case ended.

So, you know, we're going to reach a standstill,
potentially, as far as how this case is going to -- you know,
whether it's going to end at some point in time.

And I believe the Court's going to have to make that
determination. And so I want to provide some more details
about, you know, some of the challenges my client is facing
right now, how it impacts the litigation, so the Court can
take that into consideration.

Because Mr. Cooper and I are just never going to
agree on, you know, continuously extending this proceeding.
And I don't think I will, at any point, be able to say to my
client, all right, like just, you know, throw in the towel.

So that's the logic behind my request.

THE COURT: I mean, the plaintiff is under an
obligation to prosecute its case. And at core, that's the
problem here, you know?

MR. EL-HAG: Right.

THE COURT: The Court is -- you know, if there's no
legal basis to dismiss, that's not going to happen. You know,
the Court is not an arbiter of the facts in that way, right?

And so it's, you know, kind of an untenable posture to, you

 

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know, prolong things indefinitely. And that's one of the
things that I was hopeful that you could help the plaintiff's
mother and/or other parties who are involved in his decision
making at this point to understand.

Because I am understanding that this is a very
difficult time for them, and I also understand their potential
reluctance to sort of, as, you know, you put it earlier, have
the settlement be a walkaway. I get all of that. But the
alternative is to sit on the court calendar indefinitely,
trial ready, you know? I mean, those really --

MR. EL-HAG: Yeah. Well --

THE COURT: -- seem to be the two options. And so,
you know, but the -- you can't complete discovery. So how --
you know, how do we proceed if the plaintiff cannot act?

And I understand you're saying there may be some
opportunity for him to recover. But, you know, I just don't
know how probable that is at this juncture.

So remind me. I'm looking back at the docket. It
looks like the medical event -- the tragedy happened last
July. So it's been almost a year.

MR. EL-HAG: Uh-huh.

THE COURT: Is that correct?

MR. EL-HAG: Yeah. That sounds about right.

THE COURT: Okay.

MR. EL-HAG: I don't have the file in front of me to

 

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see it.

THE COURT: Yeah. I'm looking at the August 4,
2020, letter. It indicates that two weeks ago, you were
notified by the girlfriend that Mr. Sheehan had gone into
cardiac arrest.

MR. EL-HAG: Right.

THE COURT: So it's like maybe like mid to late
July, latter --

MR. EL-HAG: Right.

THE COURT: -- latter third of July. So --

MR. EL-HAG: Right.

THE COURT: -- you know, I tend to agree with
Mr. Cooper that, you know, an ex-parte submission detailing
the plaintiff's medical submission isn't necessarily
productive, because there's not that much that the Court can
do. I mean, we can give some additional time for discovery,
but at some point, the plaintiff's going to need to make this
difficult decision about what is happening in this case.

MR. EL-HAG: Right. I suppose I -- and I don't know
this off the -- I'd have to research this as well. Maybe
Mr. Cooper does. I guess at some point, you know, they can
move to dismiss for failure to prosecute. I don't know what
that time typically is in these circumstances.

You know, my client's family is going to continue to

ask me to try to prolong it. I don't want to be in a position

 

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to just force that down their -- you know, the -- down their
throat. You know, it'd be -- but I also acknowledge, you
know, it can't sit on the docket forever.

And that's why I wanted to bring those facts to
light. I mean, I don't have to do the ex parte letter. I can
just make a representation at this time my client cannot
engage in any discovery.

So that being said, you know, we would ask for more
time to see what would happen with his health condition. And
then maybe, I guess, it would be Mr. Cooper to push the issue
of whether it should be dismissed at this point. And I can
review that. And, you know, maybe they will just want to doa
walkaway. But that's the situation my client's in right now.

THE COURT: Mr. Cooper?

MR. COOPER: I mean, Your Honor, I realize that
you're relatively new to the case and that Magistrate Judge
Pollak was handling things for a year plus before your
arrival. But we're just hearing the same thing over and over
and over again since last summer. And there's no progress.
We're barely even getting updates at this point.

We're talking about, as you just pointed out, Your
Honor, more than a year since the latest event. And all we
can get is this periodic letters to the Court, you know, with
the same exact quotes. You know, one that always stands out

to me is Mr. Sheehan is still "essentially blind." I don't

 

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know what essentially blind means, just as an example. I
don't know if that means that his doctors expect him to regain
his vision. And one way or the other, I don't know if or when
he will either regain his vision or learn braille or some
other means of being able to read or communicate in certain
ways.

All of which is to say that's just -- excuse me, one
example of, you know, even in the absence of Your Honor's
permission for Mr. El-Hag to submit ex parte letters under
seal, we're very much in the dark here still even 13 months
after the most recent event that's befallen Mr. Sheehan. And
Mr. El-Hag is still unable to say -- even give an estimate as
to when or whether Mr. Sheehan will ever be able to prosecute
his claim.

At some point, we would urge that the Court is going
to have to, you know, respectfully, set some dates and set
some deadlines by which, you know, Mr. Sheehan can either
return to prosecute his claims or, if he can't -- because I
would echo what everyone else on the call has already said,
that the current situation is untenable over the long term.
And we're already -- if you combine the current 13-month delay
with the one that preceded it, we're already 18 months into a
standstill.

And the -- like I said, there's just no substantive

update on Mr. Sheehan's status and if or when he will ever be

 

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able to return to prosecute his claim.

And I would represent, as unfortunate as
Mr. Sheehan's health condition might be, it is unfair to
Consensys and its witnesses -- potential witnesses, that is,
to just keep them on the hook indefinitely.

THE COURT: I fully understand, Mr. Cooper. And
that's, you know, what I just pointed out to Mr. El-Hag
vis-a-vis the plaintiff's burden to prosecute here. You know,
I would also suggest, Mr. Cooper -- this is not legal
advice -- but the ball is in your court to some degree.

If you think that the case is, you know, ripe for
some sort of a motion, that is certainly, you know, something
that -- you know, is something that you may pursue. It's
within your legal right to do so.

You know, I'm also in the dark, as you all are, with
regard to Mr. Sheehan's ability to participate other than to
be informed that he cannot participate in discovery or
meaningfully prosecute the case. So, you know, we're sort of
at a loss. And the standstill -- indefinite standstill, you
know, iS a concern.

I'm inclined, you know, given that there's been --
can be some glimmer of hope that he might have some
improvement, to give, you know, the parties another 30 or 60
days. But at some point, you know, Mr. Cooper, if you decide

that you would like to file a motion, that is certainly within

 

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your rights. I would just advise you to do so in accordance
with Judge Irizarry's individual rules. She may or may not
refer the motion to me, depending on her schedule. And, you
know, we would take it from there.

MR. EL-HAG: And, Your Honor, this is Jordan El-Hag.
Just to address Mr. Cooper's point and everybody being in the
dark, I wish I could even myself get an update as to when
somebody -- you know, Mr. Sheehan's medical status would
change. I'm sure the family would like that as well.

But as things are with people's health and medical
crisis, I don't know how much -- I don't know what kind of
information Mr. Cooper is looking for, you know? The doctors,
they don't know. They don't know how he's going to improve.

I don't think anyone can make that representation.

So I don't know how much more information I can get
at this point. So it's not as if, you know, I'm trying to
hide the ball here at all. It's just -- so that -- all I --
what I do know is, it would, essentially, be impossible for
him to litigate it at this point.

So, you know, I'm in a position with the family
where it would have -- this would have to be initiated by
Mr. Cooper to put an end to this suit, you know, by a motion.
So that's just, you know, in response to his comments about
some kind of substantive update. And I don't know if there's

something the Court would like to see, but there's really not

 

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much more I can provide.

THE COURT: Mr. El-Hag, I don't think anybody's
implying that you're hiding the ball. You know, I think in
our prior status, I was actually struck by your comment that,
you know, you have never found yourself in this situation
before, and it's sort of uncharted territory.

And I think you're probably not alone in that as
a -- as an attorney to suddenly find yourself in an uncharged
Situation with a plaintiff who suffered a major medical
crisis.

So I'm not in any way implying that you're
attempting to hide the ball. I don't think Mr. Cooper is as
well. I think he's just zealously representing his client's
interest and suggesting that, you know, it's not fair for him
to be held in limbo indefinitely. And, you know --

MR. EL-HAG: Uh-huh.

THE COURT: You know, and that -- that is, of
course, the concern, the indefiniteness --

MR. EL-HAG: Right.

THE COURT: -- of this situation. So, you know,
what I think I'd like to do is put this down for a status
conference in, you know, six weeks or so, see where everybody
is.

Mr. Cooper, if in the interim you decide you would

like to seek relief in some other fashion, you certainly may,

 

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you know, consult Judge Irizarry's rules and file whatever
motion you deem appropriate if given the permission to do so.

I do believe she requires a pre-motion conference
letter. Let me just double check. Because all the judges --
yes, she does. I just wanted to make sure I was giving you
the right information. So just make sure you check her rules
if you do decide to file anything dispositive in nature. And,
you know, we'll take it from there.

Ms. Cahn, do we have a date in about six weeks?

THE CLERK: We have October 4th at 3:30.

THE COURT: Does that work for you gentlemen?

MR. EL-HAG: Yes, Your Honor.

THE COURT: So, Mr. El-Hag, is there anything
further you'd like to take up today?

MR. EL-HAG: No, Your Honor. Thank you for your

time.

THE COURT: Mr. Cooper, anything further?

MR. COOPER: I am consulting my calendar. I can see
that I -- as was a concern or a hurdle the last time we spoke,

I actually have a deposition on that afternoon of the 4th. We

could --
THE COURT: You have so many depositions, sir.
MR. COOPER: It's true, Your Honor. I wish it
wasn't the -- and I wish it wasn't the case, but it is --

THE COURT: I'm (indiscernible) --

 

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MR. COOPER: -- (indiscernible) calendar.

THE COURT: Do you have an alternative date,

Ms. Cahn?

THE CLERK: Let me see. We can do October 8th at 2
p.m. It's a Friday.

THE COURT: Does that work --

MR. EL-HAG: That's fine for me.

MR. COOPER: That should work for us. Thank you.

THE COURT: Okay. So hearing no objection, October
8th at 2 p.m., we will set that down for a status conference.

And in the interim, Mr. El-Hag, I am going to
decline the ex parte letter. If you do decide to file
something under seal with the Court, you know, to both sides,
you may certainly make that application.

You know, if there is any need to file something
that includes sensitive medical information as to your client,
I certainly encourage you to make the requisite application to
file it under seal at a minimum, even if it's not submitted ex
parte, to ensure that his sensitive medical information is not
in the public record.

And other than that, I think we are adjourned.

Anything further from you, Mr. El-Hag?

MR. EL-HAG: No, Your Honor.

THE COURT: Mr. Cooper?

MR. COOPER: Nothing from me, Your Honor. Thank

 

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you.
THE COURT: Okay. Very good. Have a good day,
gentlemen.
MR. EL-HAG: You too.
MR. COOPER: You too. Be well.
THE COURT: Take care.
(Proceedings concluded at 4:23 p.m.)
I, CHRISTINE FIORE, Certified Electronic Court Reporter
and Transcriber, certify that the foregoing is a correct
transcript from the official electronic sound recording of the

proceedings in the above-entitled matter.

Bi iene

October 5, 2021

 

 

Christine Fiore, CERT

 

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